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UNITED STATES DISTRICF COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Case No.: [:24-cr-159-RBW

Plaintiff{s), JUDGE REGGIE B. WALTON

CHRISTIAN ALFONSO, CRIMINAL ACTION

Defendant(s), CERTIFICATION IN SUPPORT OF

MOTION TO CONTINUE

SENTENCING HEARING
SCHEDULED FOR
JANUARY 10, 2025

I, David R. Castellani, Esquire, hereby certify as follows:

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I am pro hac yice counsel for the Defendant Christian Alfonso in the above-captioned
action.

This matter is scheduled for a sentencing hearing on January 10, 2025, before The
Honorable Reggie B. Walton.

After this sentencing date was scheduled sua sponte by the Court, new developments arose
that significantly impact the status of this case.

On November 5, 2024, President-elect Donald J. Trump won the 2024 Presidential
Election in a landslide. By all accounts, the election was free of fraud or “rigging.”
Consequently, on January 20, 2025, power will be peacefully transferred to him and
Donald ‘Trump will be sworn in as the 47" President of the United States.

Under Articie II, Section 2, Clause | of the U.S, Constitution, the President of the United
States is authorized by the U.S. Constitution to grant a pardon for a federal crime, Other

forms of the clemency power of the President include the commutation of sentence,

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remission of fine or restitution, and reprieve.

Pursuant to Ex Parte Garland, 71 U.S. 333 (1866), the President’s authority to pardon is
unlimited (except in cases of impeachment), extending to every federal offense known to
the law. This presidential power can be exercised either before legal proceedings are
taken, or during their pendency, or after conviction and judgment.

President-elect Trump has repeatedly vowed to pardon January 6 defendants. He has
referred to them as “unbelievable patriots.” As early as September 2022, in an interview
with conservative Pittsburgh broadcaster Wendy Bell, former President ‘Trump said — if he
becomes president again — he would issue full pardons and an apology to rioters involved
in the January 6, 2021, protests at the U.S. Capitol. “We'll be looking very, very
seriously at full pardons because we can’t let that happen,” Trump told Bell. “And I
mean full pardons. To many, an apology. They’ve been so badly treated.” During an
interview with Time Magazine in April of this year, Trump said he would “absolutely”
consider pardoning every January 6 defendant, although, when pressed, he said “If
somebody was evil and bad, I would look at that differently.” Later, in July while at
the National Association of Black Journalists’ conference in Chicago, Trump was asked if
he would pardon rioters who assaulted police officers during January 6. His response:
“Oh, absolutely I would,” “If they are innocent, I would pardon them... they were
convicted by a very, very, tough system.” As recently as this September, Trump said
during a rally in Wisconsin that he planned to “rapidly review the cases of every
political prisoner unjustly victimized by the Harris regime.”

History has shown that President Donald Trump is not shy when it comes to exercising his
pardon powers and there is clearly no reason to believe he won’t do as he says. During his
first term of President, Trump pardoned, commuted, or rescinded the convictions of 237
people. Many were controversial, Several were in his first year in office: Joe Arpaio,

pardoned August 25, 2017; Sholom Rubashkin, 27-year prison sentence commuted
10,

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December 20, 2017.

Christian Alfonso pled guilty to 2 Class B misdemeanors for parading and disorderly
conduct on the Capitol property. He was in and out of the building in less than 13
minutes. He engaged in no violent behaviors nor did he personally cause any physical
damage or harm to the property or persons in or around the capitol. Mr. Alfonso is a
worthy candidate for receipt of a presidential pardon and almost assuredly will receive one
once the peaceful transfer of power is complete on January 20, 2025. Like it or not,
President-elect Trump will become the President of the United States in just over one
month. He will then be vested with a constitutional power, which he has repeatedly
vowed to exercise, enabling him to nuilify these entire proceedings with the mere stroke of
a pen. To have Mr. Alfonso, who is unsentenced, receive a sentence that could subject
him to be placed in custody pending that exercise of presidential pardon power, under
these unique circumstances, is simply unnecessary, especially given the fact that he has a
young child under 2 years old.

Throughout his campaign, President-elect Trump made multiple clemency promises to the
January 6 defendants, particularly to those who were nonviolent participants.

Mr. Alfonso, who was a nonviolent entrant into the Capitol on January 6", is expecting to
be relieved of the criminal prosecution that he is currently facing when the new
administration takes office.

The Court has scheduled Mr, Alfonoso’s sentencing hearing for January 10, 2025, but as
of today, Mr. Alfonso is now awaiting further information from the Office of the
President-elect regarding the timing and expected scope of clemency action relevant to
this case.

For the foregoing reasons | am requesting that Defendant’s Motion to Continue Sentencing
Hearing scheduled for January 10, 2025, be granted and allow Defendant a 4-week

adjournment of said hearing to be rescheduled for February 7, 2025, as set forth in the
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proposed Order.
I hereby certify under penalty and perjury that the foregoing statements made by me are true
and correct. [ am aware that if any of the foregoing statements made by me are willfully false, I

may be subject to punishment.

Date: [2f22)2-F

